                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                     MINUTE SHEET

UNITED STATES OF AMERICA                             Date: August 16, 2024

vs.                                                  Case No.: 24-mj-2063-DPR

LISA JEANINE FINDLEY


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Rule 5(c)(3) Out – Initial Appearance

Time Commenced: 1:00 p.m.                                     Time Terminated: 1:07 p.m.


                                     APPEARANCES

Plaintiff:   Randy Eggert, AUSA
Defendant:   Megan Chalifoux, FPD
USPPTS:      Joel Sakuda


Proceedings: Parties appear as indicated above. Defendant appears in person.

             FPD’s appointed for this district only. Government moves for detention.
             Defendant advised of rights and questioned as to completion of the waiver of
             Rule 40 hearings. Defendant waives the right to an identity hearing and a
             detention hearing in this district. Defendant reserves the right to a
             preliminary and detention hearing in the charging district. Defendant
             ordered removed to the Western District of Tennessee.

             Defendant in custody.


Courtroom Deputy/ERO: Karla Berziel




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